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                     IN THE UNITED STATES DISTRICT COURT
                                                                                   FILED/REC'D
                   FOR THE WESTERN DISTRICT OF WISCONSIN                        2~22 1AY 2s p ~: sq I
                                                                                 CLERK OF COURT
                                                                                U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                              WO OF Wl
                                                       INDICTMENT
      V.
                                                Case No.    {   2
                                                           -------~-
                                                                           CR O7 0
JEROD HECIMOVICH,                                          18 U.S.C. § 641
                                                           18 U.S.C.   § 1361
             Defendant.                                    18 u.s.c.   § 1852




THE GRAND JURY CHARGES:

                                       COUNTl

      1.     At times material to this indictment:

             a.     Defendant JEROD HECIMOVICH owned and operated

Hecimovich Forest Products, LLC [HFP] and worked as a timber logger in northern

Wisconsin. HECIMOVICH operated a high-speed disc saw (also known as a hot saw)

at HFP and was responsible for cutting down trees. HECIMOVICH had different HFP

employees delimb, process, stack and transport the cut timber to various sawmills.

HECIMOVICH contracted with private land-owners as well as federal, state, and

county governments to harvest timber on their lands.

             b.     The Chequamegon-Nicolet National Forest (CNNF) was a national

forest that covered more than 1.5 million acres in northern Wisconsin. The CNNF
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included lands within 11 counties. The Chequamegon side of the CNNF covered

858,400 acres in Ashland, Bayfield, Sawyer, Price, Taylor, and Vilas counties. The

CNNF was publicly owned by the United States, and managed by the U.S. Forest

Service for various purposes including forestry, wildlife habitat, outdoor recreation,

fisheries management, and wilderness and natural areas management. This

responsibility included contracting with loggers to harvest certain timber located on the

CNNF according to specific conditions as set forth in a logging contract.

              c.     The Northwest Sands Restoration Project was an effort to restore

the Moquah Barrens pine barrens ecosystem in northern Wisconsin, parts of which lie in

the CNNF. In 2009, the U.S. Forest Service completed a 22,600-acre management plan

to restore the forest structure, plant and animal species composition, and fire regime in

an effort to support the pine barrens ecosystem in the CNNF. The activities to achieve

this objective included the use of prescribed burns, timber harvests, invasive species

removal and native seed plantings. Funding for the restoration project would be paid

for by timber harvest sales.

              d.     In March 2019, the U.S. Forest Service solicited bids for harvesting

timber on 486 acres of land located in the CNNF in Bayfield County, Wisconsin. This

contract was known as the Slush Bucket Timber Sale contract. The 486 acres included in

the Slush Bucket Timber contract were located in the Northwest Sands Restoration

Project management area, which meant that certain stewardship obligations were

mandated as part of the harvest. In order to achieve the objective of a pine barrens

restoration, the stewardship plan required portions of the Slush Bucket Timber acreage

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to be developed into an oak woodland with mature trees that could be maintained by

use of prescribed fire.

               e.     The Slush Bucket Timber contract was split into 13 different parcels

known as payment units ranging in size from 8 acres to 88 acres. Each payment unit

had its own harvesting requirements that followed the stewardship plan objectives.

Payment unit 8 was approximately 88 acres of timber comprised of a 76-year-old red

oak stand that included northern red oak, red maple, bigtooth aspen, quaking aspen,

paper birch, and scrub oak. The harvesting requirements for payment unit 8 included

among other things:

                      (1)        Remove dead oak and live jack pine and hardwood

(including aspen) except live oak with a 9.5 inches diameter breast height (DBH) and

greater.

                      (2)        Boundary trees marked with an orange 11 T11 shall not be cut.

                      (3)        Stump heights shall be 6 inches above ground level for oak

with a DBH of ll.6 11 or less.

                      (4)    Stewardship Project specifications required that: (a) the

contractor must remove from the cutting unit no less than 90% of all topwood, which is

defined as all woody material originating from trees designated for cutting that do not

meet the exception of live oak with a 9.5 inches DBH or greater which shall not be

harvested; (b) the contractor must also cut and remove from the cutting unit no less

than 90% of all standing, live hardwood trees greater than 3 inches but less than 4.9



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inches DBH; and (c) no purchaser-generated slash shall lie within 15 feet of trees to

remain after harvest.

              f.        On April 11, 2019, the U.S. Forest Service (USPS) awarded the Slush

Bucket Timber Sale contract to HECIMOVICH. Prior to executing the contract, on

August 21, 2019, a member of the USPS met with HECIMOVICH to ensure he

understood the harvesting requirements for each payment unit in the contract. The

USPS timber sales administrator released payment unit 8 for harvesting on August 24,

2021.

              g.        On October 7, 2021, the USPS timber sales administrator visited

payment unit 8 and determined that HECIMOVICH had violated the harvesting

requirements by cutting a large quantity of timber that did not meet the parameters of

the payment unit 8 contract. The USPS timber sales administrator ordered

HECIMOVICH to cease all harvesting action on payment unit 8.

        2.    From on or about August 24, 2021, to on or about October 7, 2021, in the

Western District of Wisconsin, the defendant,

                                    JEROD HECIMOVICH,

knowingly stole, purloined, and converted to his own use certain property having a

value in excess of $1,000, specifically: live oak timber with a 9.5-inch DBH or greater

located in payment unit 8, which was owned by the United States, and managed by the

U.S. Forest Service.

                   (In violation of Title 18, United States Code, Section 641).



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                                        COUNT2

       1.    Paragraph 1 of Count 1 is incorporated here.

       2.    From on or about August 24, 2021, to on or about October 7, 2021, in the

Western District of Wisconsin, the defendant,

                                 JEROD HECIMOVICH,

willfully and knowingly injured and committed certain depredations against property

of the United States, by cutting live oak timber with a 9.5-inch DBH or greater located in

payment unit 8, which was owned by the United States, and managed by the United

States Forest Service, thereby causing damage in excess of $1,000.

               (In violation of Title 18, United States Code, Section 1361).

                                        COUNT3

      1.     Paragraph 1 of Count 1 is incorporated here.

      2.     From on or about August 24, 2021, to on or about October 7, 2021, in the

Western District of Wisconsin, the defendant,

                                 JEROD HECIMOVICH,

knowingly cut and removed with the intent to dispose, live oak timber with a 9.5-inch

DBH or greater growing on public land in payment unit 8, which was owned by the

United States, and managed by the United States Forest Service.

               (In violation of Title 18, United States Code, Section 1852).

                             FORFEITURE ALLEGATION

      1.     Upon conviction of Count 1 of this indictment, the defendant,


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                                  JEROD HECIMOVICH,

shall forfeit to the United States, pursuant to 18 U.S.C. §§ 981(a)(l)(C), 982 and 28 U.S.C.

§ 2461(c), any property constituting or is involved in, or is derived from proceeds

traceable to the above-referenced offense, including but not limited to the following:

              a.     A sum of money equal to $24,736 in United States currency,

representing the amount of proceeds obtained as a result of theft of government

property, as charged in Count 1 of the indictment.

       2.     If any of the above-described forfeitable property, as a result of any act or

omission of the defendant --

              (a)    cannot be located upon the exercise of due diligence,

              (b)    has been transferred or sold to, or deposited with, a third party,

              (c)    has been placed beyond the jurisdiction of the court,

              (d)    has been substantially diminished in value, or

              (e)    has been commingled with other property which cannot be

                     subdivided without difficulty,

the United States shall be entitled, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to forfeiture of

substitute property up to the value of the above forfeitable property.

       (In violation of Title 18, United States Code, Sections 981(a)(l)(C), 982 and
                      Title 28, United States Code, Section 2461(c)).




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                              A TRUE BILL

                             @=- ~ - - - - - - - - - -
                              PRESIDING JUROR


                              Indictment returned: OS -':}5-W~




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